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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                 )
 NIKE, INC.,                                     )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )         No. 1:23-cv-12666-JEK
                                                 )
 NEW BALANCE ATHLETICS, INC.,                    )
                                                 )
        Defendant.                               )
                                                 )

                  MEMORANDUM AND ORDER ON DEFENDANT’S
                 MOTION TO STAY PENDING INTER PARTES REVIEW

KOBICK, J.

       Plaintiff Nike, Inc. alleges in this case that defendant New Balance Athletics, Inc. has

infringed nine of its patents directed to its Flyknit footwear technology: U.S. Patent Nos. 8,266,749

(the “’749 patent”), 8,898,932 (the “’932 patent”), 9,060,562 (the “’562 patent”), 9,510,636 (the

“’636 patent”), 9,730,484 (the “’484 patent”), 9,907,350 (the “’350 patent”), 9,918,511 (the “’511

patent”), 9,924,758 (the “’758 patent”), and 11,707,105 (the “’105 patent”). New Balance and non-

party shoe sellers lululemon and Skechers have collectively filed nine petitions for inter partes

review regarding six of these patents—the ’932, ’749, ’484, ’562, ’636, and ’511 patents—with

the U.S. Patent and Trademark Office (“USPTO”). On March 21, 2025, the Patent Trial and Appeal

Board (“PTAB”), an adjudicative body within the USPTO, issued a final written decision finding

the ’484 patent claims unpatentable in a matter brought by lululemon. Pending before the Court is

New Balance’s motion to stay this case until August 9, 2025, by which date the PTAB will have

issued institution decisions for the ’484, ’511, ’562, ’636, ’749, and ’932 patents in matters brought
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by New Balance or Skechers, as well as a final written decision for the ’749 patent in a matter

brought by lululemon. For the reasons that follow, the Court will grant the motion.

                                          BACKGROUND

I.      The Inter Partes Review Process.

        Created by the 2011 Leahy-Smith America Invents Act, the inter partes review (“IPR”)

process aims to “improve patent quality and limit unnecessary and counterproductive litigation

costs.” Uniloc 2017 LLC v. Hulu, LLC, 966 F.3d 1295, 1297-98 (Fed. Cir. 2020) (quotation marks

omitted). Through IPR, the USPTO may “reconsider whether existing patents satisfy the novelty

and nonobviousness requirements for inventions.” United States v. Arthrex, Inc., 594 U.S. 1, 8

(2021); see 35 U.S.C. § 102 (novelty); id. § 103 (non-obvious subject matter). The process “was

designed to give the agency an opportunity to correct its mistakes, to give courts the benefit of the

agency’s consideration of the effect of prior art on patents being asserted in litigation, and to reduce

the burden of litigation on the parties and the courts.” In re Intel Corp., No. 2021-168, 2021 WL

4427875, at *2 (Fed. Cir. Sept. 27, 2021).

        By statute, a defendant in a patent infringement lawsuit has one year from the date of

service of the complaint to request IPR on the patents at issue. 35 U.S.C. § 315(b). An IPR is

instituted when the PTAB determines, based on the petition and any response, that there is “a

reasonable likelihood that at least one of the claims challenged in the petition is unpatentable.” 37

C.F.R. § 42.108(c); see 35 U.S.C. § 314(a). This institution decision is “final and nonappealable.”

35 U.S.C. § 314(d). If institution is granted, the IPR proceeding begins. The PTAB will review the

patent claims and may “cancel any claim that the agency finds to be unpatentable in light of prior

art.” Cuozzo Speed Techs. v. Lee, 579 U.S. 261, 265 (2016). The PTAB must issue a final written

decision no later than one year after the institution decision, though that period may be extended




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by six months for good cause. 35 U.S.C. § 316(a)(11); 37 C.F.R. § 42.100(c). The PTAB’s final

written decision may be appealed to the Court of Appeals for the Federal Circuit. 35 U.S.C. § 319.

II.    Factual and Procedural Background.

       Nike is in the business of designing, developing, marketing, and selling athletic footwear,

apparel, and equipment. ECF 1, ¶ 10. Its investments in research, design, and development have

led to innovations such as its Flyknit technology, which provides a way to design and manufacture

the top part of a shoe, called the “upper.” Id. ¶¶ 1, 10. This case concerns nine of Nike’s patents—

the ’749, ’932, ’562, ’636, ’484, ’350, ’511, ’758, and ’105 patents—directed at manufacturing

methods, shoe components, and shoes that incorporate this technology. Id. ¶¶ 11, 22, 31, 39, 48,

56, 64, 72, 80, 88.

       Nike alleges that 61 New Balance products infringe these patents. ECF 83-4, at 3-4. In

January, March, and September 2023, Nike sent New Balance letters claiming infringement. ECF

1, ¶¶ 13-15; ECF 1-1 to 1-3. Nike then initiated this action on November 6, 2023, alleging

infringement of its nine patents, literally or under the doctrine of equivalents. ECF 1, ¶¶ 21-94.

After denying New Balance’s partial motion to dismiss with respect to three of the patents in

August 2024, the Court set a Markman hearing for June 20, 2025; a fact discovery deadline of

December 19, 2025 or 60 days after the Markman order, whichever is later; an expert discovery

deadline of within 90 days of the close of fact discovery; and a dispositive motion and Daubert

motion deadline of within 30 days of the close of expert discovery. ECF 51, 65. Since then, the

parties have engaged in initial fact discovery. Both sides served one set of interrogatories in

September 2024, and document production has begun. ECF 90, ¶¶ 5-6. In addition, after Nike

served its initial infringement claim charts on New Balance on October 11, 2024, ECF 83, ¶ 7;




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ECF 83-4, New Balance timely filed an IPR petition for the ’932 patent (IPR2025-00020) with the

PTAB before its November 8, 2024 deadline, ECF 83, ¶ 15.

         In mid-March 2025, roughly four months after filing its IPR petition, New Balance moved

to stay this case until at least August 9, 2025. ECF 81. Eight IPR decisions, regarding six of the

nine patents at issue in this case, bear on New Balance’s motion. Only one of these—the IPR

petition for the ’932 patent—was filed by New Balance. 1 That petition is still pending, and an

institution decision is due on June 20, 2025. ECF 82, at 4. Skechers is also awaiting institution

decisions for five IPR petitions that it filed against the ’749 patent (IPR2025-00141), the ’484

patent (IPR2025-00142), the ’562 patent (IPR2025-00150), the ’636 patent (IPR2025-00151), and

the ’511 patent (IPR2025-00144). Id. at 5. Those decisions are due on June 20 and 23, 2025. Id.

Lululemon has one pending IPR petition challenging the ’749 patent (IPR2024-00460), for which

a final written decision is due by August 9, 2025. See ECF 83-2 (granting institution of IPR).

Recently, the PTAB issued a final written decision in another IPR brought by lululemon, finding

by a preponderance of the evidence that claims 1 through 19 of the ’484 patent are unpatentable

as obvious. See lululemon USA Inc. v. Nike, Inc., No. IPR2023-01460, at 27 (P.T.A.B. Mar. 21,

2025).

         On May 8, 2025, the Court held a hearing on New Balance’s motion to stay this action

until August 9, 2025, by which point the PTAB will have issued institution decisions for the New

Balance and Skechers IPRs and a final written decision for lululemon’s IPR on the ’749 patent.

ECF 104. After the hearing, the Court took the motion under advisement.




   1
    New Balance had previously filed another IPR petition regarding the ’749 patent (IPR2024-
00778), which was denied institution on September 26, 2024. ECF 90-3.


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                                           DISCUSSION

       The Court has the inherent power to manage its own docket, including by issuing a stay of

proceedings pending IPR. Murata Mach. USA v. Daifuku Co., Ltd., 830 F.3d 1357, 1361 (Fed. Cir.

2016). This decision is “committed to the sound discretion of the trial court.” In re Corel Software

LLC, 778 F. App’x 951, 953 (Fed. Cir. 2019); see In re Body Sci. LLC Patent Litig., No. 12-cv-

10536-FDS, 2012 WL 5449667, at *3 (D. Mass. Nov. 2, 2012) (recognizing a “‘liberal policy’” in

favor of granting stays pending patent reexamination (citation omitted)). Courts ordinarily analyze

three factors to determine whether a stay pending IPR is appropriate: (1) the stage of the

proceedings; (2) the potential for the stay to simplify issues in the case; and (3) whether a stay will

impose undue prejudice on the non-moving party or give the moving party a clear tactical

advantage. See Murata Mach., 830 F.3d at 1359-60.

I.     Stage of the Litigation.

       When assessing the stage-of-litigation factor, courts look to “whether discovery is

complete and whether a trial date has been set,” id. at 1361 (quotation marks omitted), as well as

whether “‘substantial proceedings’ in the case [have] yet to be completed,” In re Corel Software

LLC, 778 F. App’x at 953. In general, “‘[t]he earlier the stage of proceedings, the greater the reason

to grant a stay.’” ACQIS, LLC v. EMC Corp., 109 F. Supp. 3d 352, 356 (D. Mass. 2015)

(quoting SurfCast, Inc. v. Microsoft Corp., No. 12-cv-333-JDL, 2014 WL 6388489, at *2 (D. Me.

Nov. 14, 2014)).

       This case is still in the early stages of litigation. Fact discovery is underway but is not far

along: as of the date of New Balance’s motion, Nike had produced approximately 53,792

documents, New Balance had produced approximately 11,273, and both parties had exchanged

one set of interrogatories. ECF 83, ¶¶ 9-11; ECF 90, ¶¶ 5-6; see VirtualAgility Inc. v.




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Salesforce.com, Inc., 759 F.3d 1307, 1317 (Fed. Cir. 2014) (“Generally, the time of the motion is

the relevant time to measure the stage of litigation.”). Nike contends that this amounts to significant

document discovery, but New Balance’s attorney avers that “[t]he vast majority of these

documents were already produced in prior litigations,” ECF 83, ¶ 10, so “at least some of the cost

that [Nike] has incurred in document discovery would have been incurred irrespective of the case

against [New Balance],” ACQIS, LLC, 109 F. Supp. 3d at 356. At least nine months of fact

discovery remained as of the date of New Balance’s motion, and the parties had not yet noticed or

taken any fact or expert depositions. ECF 82, at 3. Thus, “‘the most burdensome stages of the

cas[e]—completing discovery, preparing expert reports, filing and responding to pretrial motions,

preparing for trial, going through the trial process, and engaging in post-trial motions practice—

all lie in the future.’” DiversiTech Corp. v. RectorSeal, LLC, No. 20-cv-11896-NMG, 2021 WL

2953324, at *2 (D. Mass. July 14, 2021) (quoting NST Glob., LLC v. SIG Sauer Inc., No. 19-cv-

792-PB, 2020 WL 1429643, at *2 (D.N.H. Mar. 24, 2020)). And while the parties have already

devoted time and effort to briefing claim construction, see ECF 77-80, 85-88, the Markman hearing

has not yet occurred, summary judgment and Daubert motions are not due until April 2026 at the

earliest, and no trial date has been set. Under the circumstances, this factor weighs heavily in favor

of a stay. Indeed, other courts have granted stays in cases considerably farther along than this case.

See ACQIS, LLC, 109 F. Supp. 3d at 357 (collecting cases where stays were granted when

discovery was complete and claim construction orders had been issued).

II.    Potential Simplification of the Issues.

       The second factor concerns “whether a stay will simplify the issues in question and trial of

the case.” Murata Mach., 830 F.3d at 1361 (quotation marks omitted). The IPR process can

simplify court cases in several ways. See In re Body Sci., 2012 WL 5449667, at *2-3 (listing seven




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advantages of granting a stay pending reexamination of a patent). Most notably, “when a claim is

cancelled, the patentee loses any cause of action based on that claim, and any pending litigation in

which the claims are asserted becomes moot.” Fresenius USA, Inc. v. Baxter Int’l, Inc., 721 F.3d

1330, 1340 (Fed. Cir. 2013); see SHFL Ent., Inc. v. DigiDeal Corp., 729 F. App’x 931, 934 (Fed.

Cir. 2018) (affirming district court’s mootness determination when “originally asserted claims of

the patent were cancelled as a result of” patent reexamination). Simplification may also occur if

the claim is not cancelled or amended. If the IPR results in a final written decision, the IPR

petitioner is estopped from asserting “that the claim is invalid on any ground that the petitioner

raised or reasonably could have raised during that inter partes review.” 35 U.S.C. § 315(e)(2); see

Papst Licensing GMBH & Co. KG v. Samsung Elecs. Am., Inc., 924 F.3d 1243, 1251 (Fed. Cir.

2019). A final written decision will also be binding on non-petitioners that join an instituted

petition, though only on the invalidity grounds raised under that IPR petition. See Network-1

Techs., Inc. v. Hewlett-Packard Co., 981 F.3d 1015, 1027 (Fed. Cir. 2020). And in some cases, a

defendant that has neither joined nor instituted its own IPR may “simply declar[e] that it will be

bound by the full scope of statutory estoppel applicable to the particular IPR.” Realtime Adaptive

Streaming LLC v. Adobe Sys. Inc., No. 18-cv-9344-GW-JCx, 2019 WL 11717183, at *4 n.5 (C.D.

Cal. May 14, 2019).

       The New Balance, Skechers, and lululemon IPRs that are pending and awaiting institution

decisions have the potential to simplify the issues in this case. This case involves a number of

patent claims and accused footwear products. Though Nike argues that only six claims are

disputed, the number of accused products may change dramatically if some or all of the patents

are invalidated. ECF 83, ¶¶ 12-14; ECF 83-4, at 2-3. By August 9, 2025, the parties will know

whether the PTAB has found the ’749 patent claims unpatentable in lululemon’s IPR. The PTAB




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has already, as discussed, deemed the ’484 patent claims unpatentable in a separate lululemon IPR.

See lululemon USA Inc., No. IPR2023-01460. Invalidation of these two patents alone would reduce

the number of accused products in this case from 61 to approximately 25. ECF 83, ¶ 14; ECF 83-

4, at 2-3. A similar outcome would obtain if the PTAB were to institute IPRs in the Skechers

matters and the ’484, ’749, ’511, ’562, and ’636 patent claims were invalidated through those

proceedings. ECF 83, ¶ 13; ECF 83-4, at 2-3. The Court thus agrees with New Balance that the

IPR process may very well simplify the issues through possible invalidation or narrowing of the

disputed claims.

       Nike disputes this conclusion, contending that a stay is not warranted because the three

patents in this case not subject to IPR challenges—the ’350, ’758, and ’105 patents—would be left

to languish on the docket. See Koninklijke Philips N.V. v. Amerlux, LLC, 167 F. Supp. 3d 270, 274-

75 (D. Mass. 2016) (noting that the “IPR addresses only two of the six patents-in-suit, and there is

no indication that the two patents subject to review constitute the gravamen of [the plaintiff’s]

case”). But New Balance’s request for a stay extends only until August 9, 2025, at which time the

parties and Court will know more about the breadth of instituted IPRs involving Nike’s challenged

patents. The three remaining patents will hardly be languishing during the short time between this

decision and August 2025. It makes little sense to proceed with the Markman hearing, and have

the parties incur additional discovery costs in the meantime, when two-thirds of the patents at issue

here may be subject to IPR. Moreover, “[o]ther courts have granted stays even where . . . the IPR

proceedings do not involve all asserted patents or claims.” ACQIS, LLC, 109 F. Supp. 3d at 357-

58 (collecting cases and holding that this factor “weigh[ed] slightly in favor of a stay” because of

the “significant overlap among the patents-in-suit, and between the claim elements of the claims

under review in the IPRs and those found in each of the remaining 19 claims,” even though not all




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of the claims and patents involved in the case were under review); see also In re Body Sci., 2012

WL 5449667, at *5 (“[T]he question is not whether the reexamination will clearly eliminate all

need for a trial; rather, it is whether the reexamination is likely to simplify the issues for trial.”).

        Nike next contends that, as to the New Balance and Skechers petitions, any chance of

simplification is reduced because the PTAB has not yet instituted review. Nike therefore requests

that the Court deny the motion without prejudice to renewal in the event that the PTAB decides to

grant institution. While some courts have held that, pre-institution, “any simplification which

might be gained by inter partes review is . . . mostly a matter of conjecture,” Mizuho Orthopedic

Sys., Inc. v. Allen Med. Sys., Inc., 610 F. Supp. 3d 362, 366 (D. Mass. 2022), “that rule is ‘hardly

universal’ and many other courts have stayed cases before the institution of IPR,” DiversiTech

Corp., 2021 WL 2953324, at *3 (quoting NST Glob., LLC, 2020 WL 1429643, at *4 (collecting

cases)). Here, it makes little sense to proceed with the Markman hearing when one of Nike’s

patents at issue has recently been deemed unpatentable by the PTAB, another is under review, and

the institution decisions for the six Skechers and New Balance petitions are imminent. Again, New

Balance is requesting a stay only until August 9, 2025, at which point the parties and Court will

know whether institution decisions have been granted as to the Skechers and New Balance IPRs

and whether the PTAB has determined the ’749 patent claims to be unpatentable in the lululemon

IPR. At that time, the parties and Court will be in a better position to consider whether the stay

should be extended in light of the PTAB’s decisions.

        Nike finally argues that because New Balance is not a party to the Skechers petitions, it

will not be subject to statutory estoppel under 35 U.S.C. § 315(e)(2). Thus, according to Nike,

simplification would be “unlikely to occur for several years,” as “[a]ny simplification . . . would

come only from a finding of unpatentability after all appeals are exhausted.” ECF 89, at 10. Nike




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also argues, for similar reasons, that the recent lululemon IPR decision finding the ’484 patent

unpatentable “will not simplify anything,” so long as it remains appealable. ECF 101, at 4. But

whether a stay pending IPR may lead to simplification does not turn only on the immediate

availability of collateral or statutory estoppel. The benefits of staying litigation pending patent

reexamination include: (1) the USPTO’s “particular expertise”; (2) management of discovery

issues relating to the prior art; (3) likely dismissal when IPR results in “effective invalidity of the

patent”; (4) increased chance of settlement based on the outcome of IPR; (5) development of an

IPR record, which would likely simplify trial; (6) limited issues, defenses, and evidence in pretrial

conferences; and (7) reduced litigation costs. In re Body Sci., 2012 WL 5449667, at *2-3. And in

any event, the deadline for New Balance to seek leave to join the Skechers IPRs has not passed;

New Balance will have one month after a decision instituting those IPRs to decide whether to

request joinder. See 35 U.S.C. § 315(c); 37 C.F.R. § 42.122(b). Should it do so, New Balance may

indeed be estopped from raising in this Court any ground that Skechers raised before the PTAB.

Network-1 Techs., Inc., 981 F.3d at 1027. Accordingly, the second factor also strongly weighs in

favor of a stay.

III.    Undue Prejudice or Clear Tactical Disadvantage.

        The third factor concerns “whether a stay would unduly prejudice or present a clear tactical

disadvantage to the non-moving party.” Murata Mach., 830 F.3d at 1361 (quotation marks

omitted). That a stay would delay resolution of the lawsuit does not by itself amount to undue

prejudice. See InMode Ltd. v. BTL Indus., Inc., No. 24-cv-12955-PBS, 2025 WL 926481, at *1 (D.

Mass. Mar. 27, 2025). The patentee must instead demonstrate “undue prejudice separate from the

delay,” such as, for example, “that 1) on account of the delay it effectively will be denied certain




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legal remedies, 2) the moving party possesses a dilatory motive or 3) the parties are direct

commercial competitors.” Mizuho Orthopedic Sys., 610 F. Supp. 3d at 365.

       Nike contends that it will suffer undue prejudice from a stay of this action because New

Balance’s continued infringement will threaten its market share, brand recognition, and consumer

goodwill, as New Balance is its direct competitor. “Stays are disfavored in cases involving direct

competitors because ‘there is a reasonable chance that delay in adjudicating the alleged

infringement will have outsized consequences to the party asserting infringement has occurred,

including the potential for loss of market share and an erosion of goodwill.’” Teva Pharms. Int’l

GmbH v. Eli Lilly & Co., No. 18-cv-12029-ADB, 2019 WL 1767394, at *8 (D. Mass. Apr. 22,

2019) (quoting Neste Oil Oyj v. Dynamic Fuels, LLC, No. 12-cv-01744-GMS, 2013 WL 3353984,

at *3 (D. Del. July 2, 2013)). But though Nike and New Balance are direct competitors, Nike has

not demonstrated that any prejudice it may experience from New Balance’s ongoing competition

warrants denial of the stay. There are other competitors in the athletic footwear market, which may

mitigate any loss of market share or goodwill. Id. (noting that “the presence of other firms in the

market decreases the likelihood of prejudice”). And Nike has not, in any event, introduced

competent evidence, through affidavit or otherwise, that staying this action will in fact occasion

these harms. Nor has Nike offered evidence that these harms could not be addressed by money

damages if it were to ultimately prevail on its infringement claims. See Irwin Indus. Tool Co. v.

Milwaukee Elec. Tool Corp., No. 15-cv-30005-MGM, 2016 WL 1735330, at *4 (D. Mass. Apr.

28, 2016). Even accounting for the “inherent difficulty of quantifying ‘loss of market share, brand

recognition, and customer goodwill’ and of estimating monetary damages,” Nike has not made a

sufficient showing that the mere fact of its competition with New Balance will impose undue




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prejudice. TEK Glob., S.R.L. v. Sealant Sys. Int’l, Inc., 920 F.3d 777, 792 (Fed. Cir. 2019) (quoting

i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831, 862 (Fed. Cir. 2010), aff’d, 564 U.S. 91 (2011)).

       Nike separately argues that “a stay pending final resolution of any of the pending or pre-

institution IPRs, inclusive of exhaustion of appeals, will take years,” and that evidence regarding

the manufacture of New Balance products, which is in the hands of New Balance’s foreign

manufacturers, may be lost as New Balance cycles through new products. ECF 89, at 14-15. But

New Balance has asked for a stay only through August 9, 2025, at which point the Court will

consider whether a further stay of the case is warranted. And New Balance further committed at

the motion hearing to continue collecting evidence from its overseas manufacturers while a stay is

in place in order to address Nike’s concern about the loss of evidence.

       Nike also charges that New Balance’s conduct demonstrates gamesmanship because New

Balance did not file its motion to stay in November 2024, when all of the IPRs at issue were on

file, but instead waited until mid-March 2025 to do so, in the middle of the parties’ claim

construction briefing. Nike further faults New Balance for filing only two IPR petitions, one of

which was denied institution, and for relying on third-party IPRs. While New Balance will be

estopped from asserting invalidity in this action based on any ground it raised or could have raised

in its own IPR should that IPR reach a final written decision, see 35 U.S.C. § 315(e)(2), it will not,

at present, be statutorily estopped from asserting invalidity based on grounds raised in the Skechers

and lululemon IPRs. New Balance may later seek leave to join the Skechers IPRs, but it elected

not to join the lululemon petitions, and its time to do so has expired. See 37 C.F.R. § 42.122(b).

The Court agrees with Nike that this conduct evinces some gamesmanship: New Balance seeks to

reap the benefits of a stay pending IPR proceedings even though it refused to commit to being

bound by at least some of those proceedings. See Koninklijke Philips N.V., 167 F. Supp. 3d at 275




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(denying stay, in part based on the “fact that [the defendant] is not a party to the IPR, and it has

not offered to be bound by the estoppel attendant to IPR proceedings” (citing 35 U.S.C.

§ 315(e)(2)). In general, where courts conclude that cases should be stayed in light of third-party

IPRs, “the defendants have agreed to be bound by the IPR estoppel provisions of 35 U.S.C.

§ 315(e)(2).” Polaris PowerLED Techs., LLC v. Dell Techs. Inc., No. 22-cv-973-RP, 2024 WL

1546973, at *2 (W.D. Tex. Mar. 5, 2024) (collecting cases where courts granted stays pending

IPR, conditioned on the defendants being bound by IPR estoppel).

       New Balance responds that any prejudice to Nike is at least partially offset by the fact that

five of the nine asserted patents have either expired (the ’749, ’350, ’511, and ’758 patents) or

been determined unpatentable by the PTAB (the ’484 patent). For that reason, New Balance

argues, Nike cannot demonstrate that any actions related to the expired patents will cause it

competitive harm during the stay. See Raytheon Co. v. Samsung Elecs. Co., Ltd., No. 15-cv-341-

JRG-RSP, 2016 WL 11639659, at *1 (E.D. Tex. Feb. 22, 2016) (“The asserted patent is expired,

and thus there is no possibility of continuing harm to [the plaintiff] from infringement. [The

plaintiff] can only recover damages for past infringement, so prejudgment interest can adequately

redress any delay.”). Moreover, New Balance points out, the requested stay would last only a few

months. Cf. Lund Motion Prods., Inc. v. T-Max Hangzhou Tech. Co., Ltd., No. 17-cv-01914-CJC-

JPR, 2019 WL 116784, at *2 (C.D. Cal. Jan. 2, 2019) (“a mere four-month stay” would not be

prejudicial even where parties were direct competitors).

       Balancing these considerations, the Court concludes that Nike will not be unduly

prejudiced by a stay. While the parties’ positions as direct competitors may result in some prejudice

to Nike, “a stay can cause some prejudice to [a] plaintiff without constituting undue prejudice.” In

re Body Sci., 2012 WL 5449667, at *4. Under the circumstances—including the lack of evidence




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regarding harm that Nike will suffer, the brevity of the stay, and New Balance’s commitment to

continue collecting discovery from its foreign manufacturers—Nike has not “show[n] undue

prejudice separate from the delay itself.” See Mizuho Orthopedic Sys., 610 F. Supp. 3d at 365. The

slight prejudice that Nike claims it will face as a result of the stay does not outweigh the fact that

this litigation is in its early stages and that the seven IPR decisions that will issue by August 9,

2025 may considerably simplify the issues before the Court. Accordingly, a stay of this action until

August 9, 2025 is warranted.

                                 CONCLUSION AND ORDER

       For the foregoing reasons, New Balance’s motion to stay this case pending inter partes

review, ECF 81, is GRANTED. This action is stayed in its entirety until August 9, 2025.

       SO ORDERED.

                                                      /s/ Julia E. Kobick
                                                      JULIA E. KOBICK
                                                      UNITED STATES DISTRICT JUDGE
Dated: June 6, 2025




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